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EXHIBIT D
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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

Marissa Carter, Evelyn Grys, Bruce Currier,

Sharon Koning, Sue Beehler, Marsha Mancuso,

and Jaclyn Cuthbertson, as individuals Case No.: 6:14-CV-06275-FPG
and as representatives of the classes,

Plaintiffs, NOTICE OF DEPOSITION OF
GREGORY TREROTOLA
VS.

CIOX Health, LLC f/k/a HealthPort Technologies,
LLC, the Rochester General Hospital, the Unity
Hospital of Rochester, and F.F. Thompson
Hospital, Inc.,

Defendants.

TO: DEFENDANT CIOX HEALTH, LLC AND ITS ATTORNEYS OF RECORD

PLEASE TAKE NOTICE THAT, pursuant to Rule 45 of the Federal Rules of Civil
Procedure, Plaintiffs will take the deposition of Gregory Trerotola on March 28, 2018,
beginning at 9:00 a.m. and continuing thereafter by adjournment until completed. The deposition
will take place before a qualified court reporter at Block & Leviton LLP, 155 Federal Street,

Suite 400, Boston, MA 02110.
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Dated: January 23, 2018

NICHOLS KASTER, PLLP

: /s/ Kai H. Richter

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